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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA
Vv. CRIMINAL NO. 1:13CR081

JAMES EVERETT DUTSCHKE

ORDER FOR DISMISSAL
Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of
court endorsed hereon, the United States Attorney for the Northern District of Mississippi
hereby dismisses the original Indictment against JAMES EVERETT DUTSCHKE,
predicated on his plea and sentencing on the Superseding Indictment in this cause.
FELICIA C. ADAMS

United States Attorney

s/ James Clayton Joyner
JAMES CLAYTON JOYNER
Assistant United States Attorney
Mississippi Bar No. 10316

Leave of court is granted for the filing of the foregoing dismissal.

Pierce Uypeck

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District Judge
UNITED STATES * ue COURT

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